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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                     Judge R. Brooke Jackson

Criminal Action No. 19-cr-418-RBJ

UNITED STATES OF AMERICA,

               Plaintiff,
v.

LYDELL CLANTON,

               Defendant.


               DEFENDANT’S MOTION TO DETERMINE COMPETENCY
                     AND MENTAL HEALTH OF DEFENDANT


       COMES NOW, the Defendant Lydell Clanton, by and through his attorney Boston H.

Stanton, Jr., of the Law Office of Boston H. Stanton, Jr., and respectfully moves this Honorable

Court to hold a hearing pursuant to 18 U.S.C. § 4241(a) and (b) to determine the mental

competency of the defendant and his mental health. Prior to any such hearing, Mr. Clanton

requests that he be provided the opportunity to retain a licensed or certified psychiatrist or

psychologist to conduct an evaluation pursuant to 18 U.S.C. § 4241. A request to toll the Speedy

Trial Act is made pursuant to 18 U.S.C. § 3161(h)(1)(A). In support of this motion, counsel

states as follows:

       1.      A Change of plea hearing is currently set for February 1, 2021 at 8:30am.

       2.      18 U.S.C. § 4241(a) provides that at any time after the commencement of a

prosecution for an offense and prior to sentencing, a defendant may file a motion for a hearing to

determine his mental competency. The Court shall grant such motion if there is reasonable cause

to believe that the defendant may be suffering from a mental disease or defect rendering him
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mentally incompetent to the extent that he is unable to understand the nature and consequences

of the proceedings against him or to assist properly in his defense. Prior to the competency

hearing, the Court may order a psychiatric or psychological examination/evaluation of the

defendant under 18 U.S.C. § 4241 (b) and (c).

       3.      Undersigned counsel (“counsel”) proffers, based on his interaction with the

defendant, that there is “reasonable cause to believe ... that the defendant may be suffering from

a mental disease or defect rendering him mentally incompetent....” Without disclosing the

specific content of privileged communications, counsel’s belief in this regard is based on

statements made by the defendant regarding this case, the defendant’s demeanor, and concerns

raised by the defendant himself regarding his mental condition and need for medical treatment.

There is reasonable cause to believe that a psychiatric and/or psychological examination and

report is necessary to determine: (1) the defendant’s mental condition in order to determine the

appropriate treatment he is to receive during and after confinement; and, (2) the facility in which

he shall receive such treatment during confinement. In addition, the Defendant’s mental health is

pertinent to not only the current charges but also to a potential sentencing.

       4.      Mr. Clanton wishes to retain a licensed or certified psychiatrist or psychologist to

conduct independent evaluations and prepare an independent psychological or psychiatric report

to filed with the Court pursuant to 18 U.S.C. § 4247(c), addressing Defendant’s competency and

mental health pursuant to 18 U.S.C. § 4241(a) and (b).

       5.      Therefore, counsel requests that Mr. Clanton be provided the opportunity to

pursue an independent psychological or psychiatric examination pursuant to 18 U.S.C. § 4241(b)

and (c) to determine whether Mr. Clanton is mentally competent to be able to understand the

nature and consequences of the proceedings against him or to assist properly in his defense and

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at the time of the alleged offense he lacked the requisite mens rea thus lacking criminal

responsibility.

        7.        Counsel has contacted Assistant United States Attorney Valeria Spencer and she

has indicated that the Government takes no position.

       8.         Pursuant to 18 U.S.C. § 3161(h)(1)(A), Mr. Clanton requests that the Speedy Trial

Act be tolled until such time as a psychiatric or psychological has completed both a competency

evaluation pursuant to 18 U.S.C. § 4241(a) and an mental health evaluation and a hearing has

been conducted pursuant to 18 U.S.C. §4241 (c) and (d). Pursuant to 18 U.S.C. § 3161(h)(1)(A),

the Court may find that the delay resulting from the determination of the Defendant’s

competency to proceed is excluded from the calculation of the time within which trial must

commence until such time as the Defendant is declared competent to proceed.

       WHEREFORE, Mr. Clanton request that this Honorable Court toll the Speedy Trial Act

pursuant to 18 U.S.C. § 3161(h)(1)(A) to provide Mr. Clanton the opportunity to seek psychiatric

or psychological evaluations addressing competency and mental health pursuant to 18 U.S.C. §

4241(a) and (b) respectively. A status conference is requested in approximately 90 days or for

such other and further relief as to the Court seems just and proper under the circumstances.

       Dated this 14th day of January, 2021.

                                               Respectfully submitted,
                                               LAW OFFICE OF BOSTON H. STANTON, JR.


                                               s/Boston H. Stanton, Jr.
                                               Boston H. Stanton, Jr.
                                               P.O. Box 200507
                                               Denver, CO 80220
                                               (303) 377-2757 Telephone
                                               (303) 394-0204 Telecopier
                                               bostonhs@comcast.net
                                               ATTORNEY FOR LYDELL CLANTON
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                              CERTIFICATE OF MAILING

I hereby certify that on January 14, 2021, I electronically filed the foregoing DEFENDANT’S
MOTION TO DETERMINE COMPETENCY AND MENTAL HEALTH OF
DEFENDANT with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to all interested parties, to include the following:

Valeria Spencer valeria.spencer@usdoj.gov


                                            s/Boston H. Stanton, Jr.
                                            LAW OFFICE OF BOSTON H. STANTON, JR.




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